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souTHERN DisTRlcT oF NEvv YoRK `~’~»>C = i'
LQ.QLA\S @QYW)Q/UO\_ i. 1 _ ";: - ,.
Piaintiff(e), civiL cAsE DiscovERY PLAN

AND scHEoui_iNG oRDER
1$_ cv 3 i'D (vB)

V.

Ho…€ De¢(>c)*“ USA i\/\C.,
Defendant(s ).

 

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This Civii Case Discovery Pian and Scheduiing Order is adopted, after
consultation With counsel and any unrepresented parties, pursuant to Fed. R. Civ. P. 16
and 26(f):

1. Aii parties [eeasem}ng£otconsent|i to conducting all further proceedings before
a i\/iagistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(0).

The parties are free to Withhold consent Without adverse substantive
consequences (if ali parties consentl the remaining paragraphs of this form
need not be compieted.)

2. This case@[is-ne=t-}to be tried to a jury.

3. Amended pleadings may not be filed and additional parties may not be joined
except with leave of the Cu ;J.{(r} Any motion to amend or to join additional parties
shall be filed by if( .(Absent exceptional circumstances,
30 days from date of this Order.)

 

4. initial di closures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed by
5 l \S . (Absent exceptional circumstances, 14 days from date
of this oider.)

5. Fact Discovery
a. Aii fact discovery shall be completed by H`Z‘l § la

(Absent exceptional circumstances, a period not to exceed 120 days from
date of this Order.)

 

b. initial requesg%s for production of documents shall be served by

4!'10 l 1%
c. interrogatories shall be served by 45 70§ 13

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d. Non-expert depositions shall be completed by 6 \@ § i@

 

e. Requests to admit shall be served by la ii"?/O \; 193

 

f. Any of the interim deadlines in paragraphs 5(b) through 5(e) may be
extended by the written consent of ali parties Without application to the
Court, provided that ali fact discovery is completed by the date set forth in
paragraph 5(a).

Expert Discovery

a. Aii expert (}iscoveryl including expert depositions, shall be completed by
52 irl /6 . (Absent exceptional circumstances, 45 days
from datein par'agraph 5(a); i_.e_., the completion of ail fact discovery.)

b. Piaintiff’s expert d'scio ures pursuant to Fed. R. Civ. P. 26(a)(2) shall be
madeby if|lO?/X/

l
c. Defendant’s expert Tisclo ures pursuant to Fed. R. Civ. P. 26(a)(2) shall
be made by ""I l l %l /</

d. The interim deadlines in paragraphs 6(b) and 6(c) may be extended by the
Written consent of ali parties Without application to the Court, provided that
aii expert discovery is completed by the date set forth in paragraph 6(a).

Additionai provisions agreed upon by the parties are attached hereto and made a
part hereof.

ALL DiSCOVERY SHALL BE COMPLETED BY §§ g "Z> i § ig
(Absent exceptional circumstances, a period not to excedd 6 mdnths from date of
this Order.)

 

Aii motions and applications shall be governed by the Court’s individual
Practices, including the requirement of a pre-motion conference before a motion
for summary judgment is filed.

Uniess othen/vise ordered by the Court, Within 30 days after the date for the
completion of discovery, or, if a dispositive motion has been filed, Within 30 days
after a decision on the motion, the parties shall submit to the Court for its
approval a Joint Pretriai Order prepared in accordance With the Court’s individual
Practices. The parties shall also comply With the Court’s individual Practices With
respect to the filing of other required pretrial documents

The parties have conferred and their present best estimate of the length of the
trial is 'L" § 0(1\{/(

 

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12.

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15.

Dated:

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This Civii Case Discovery Pian and Scheduiing Order may not be modified or the
dates herein extended Without leave of the Court or the assigned i\/iagistrate
Judge acting under a specific order of reference (except as provided in
paragraphs 5(f) and 6(d) above).

The i\/iagistrate Judge assigned to this case is the Honorabie
Lisa |\/i. Smith

 

if, after the entry of this Order, the parties consent to trial before a i\/iagistrate
Judge, the i\/lagistrate Judge Wiii schedule a date certain for trial and Wiii, if
necessary, amend this Order consistent therewith.

The next case management conference is scheduled for q 7 /¢F
at j\‘f§ UM . (The Court Wiii set this date at the initial conference.)

Z( \ 9 (t§"
White Piains, NY

SO ORDERED.

 

Vinoent L. Briccetti
United States District Judge

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…OPM

